Case 15-05422-LA7     Filed 06/11/18   Entered 06/11/18 15:50:02    Doc 92   Pg. 1 of 1




                          TENTATIVE RULING

                 ISSUED BY JUDGE LOUISE DECARL ADLER


Debtor:      COAST MEDICAL CENTER, INC.
Number:      15-05422-LA7

Hearing:     02:00 PM Thursday, June 14, 2018

Motion:    MOTION FOR FINAL REPORT AND COMPENSATION FILED BY TRUSTEE
LESLIE GLADSTONE

Opposition of creditor Denise Dominguez to Ch. 7 Trustee's Final Report, etc.,
OVERRULED. As can be seen from a review of pages 1 and 2 of the Summary of
Trustee's Final Report, this case is what is termed "administratively insolvent". That
means that there is insufficient money in this estate to pay the fees and expenses that
are entitled to priority under the Bankruptcy Code. [$31,739.31 in funds remaining to
be paid out versus $31,739.31 in administrative fees and expenses; however, Ms.
Dominguez should note that all the administrative expense applicants are receiving less
than the full amount they have requested.] While her claim may have merit, there is
no money to be distributed to unsecured creditors like her.
